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           CONTINUATION IN SUPPORT OF CRIMINAL COMPLAINT

I, Jonathan Trent, being first duly sworn, hereby depose and state as follows:

                INTRODUCTION AND AGENT BACKGROUND

      1.     I make this continuation in support of a criminal complaint against

Lucas Wade Ansell for violations of Title 18, United States Code, Section 117,

domestic assault by an habitual offender. Based on the information disclosed below,

I submit there is probable cause to believe that on or about December 5, 2024, Ansell

violated Title 18, United States Code, Section 117 in the Western District of

Michigan. I therefore request the Court authorize the criminal complaint and an

arrest warrant for Ansell.

      2.     I am a Special Agent (SA) with the Federal Bureau of Investigation

(FBI) and have been so employed since 2023.         I am currently assigned to the

Marquette Resident Agency in Marquette County, Michigan. In my employment as

an FBI Special Agent, I have received training in investigating various types of

Federal criminal violations, including violations of 18 U.S.C. § 117, domestic assault

by a habitual offender.      The facts in this continuation come from my personal

observations, my training and experience, and information obtained from other

agents, other law enforcement officers, and witnesses.

      3.     This continuation is intended to show only that there is sufficient

probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.




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                                 APPLICABLE LAW

      4.      Based on my conversations with an Assistant United States Attorney, I

know that the elements of a violation of 18 U.S.C. § 117 are:

           a. That the offense occurred in Indian Country, as defined by 18 U.S.C.

              § 1151;

           b. That the defendant assaulted the victim;

           c. That the defendant committed the assault against a current or former

              spouse, parent, child, or guardian of the victim, by a person with whom

              the victim shares a child in common, by a person who is cohabitating

              with or has cohabitated with the victim as a spouse, parent, child, or

              guardian, or by a person similarly situated to a spouse, parent, child, or

              guardian of the victim1; and

           d. That the defendant has convictions on at least two separate prior

              occasions in Federal, State, or tribal court for offenses that would be, if

              subject to Federal jurisdiction, an assault against a spouse or intimate

              partner.

      5.      I also know that “a spouse or intimate partner” includes, among other

things, “a person who is or has been in a social relationship of a romantic or intimate

nature with the abuser, as determined by the length of the relationship, the type of




1 In United States v. LaVictor, the Sixth Circuit affirmed a conviction where the

instant offense involved the assault of an intimate partner. See 848 F.3d 428, 458
(6th Cir. 2017) (quoting 18 U.S.C. § 2266(7)(A)(i)(II)); see also United States v. St.
John, 716 F.3d 491, 493 (8th Cir. 2013).
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relationship, and the frequency of interaction between the persons involved in the

relationship.” 18 U.S.C. § 2266(7)(A)(i)(II).

                                PROBABLE CAUSE

      6.     On December 10, 2024, I was with an officer from the Hannahville

Indian Community Tribal Police Department when we made contact with the victim

at a known location in Wilson, Michigan. The victim disclosed that Ansell had

assaulted her at that location on or about December 5, 2024. This location is in

Menominee County on land held in trust for the Hannahville Indian Community.

      7.     The victim reported that when she returned home from work, she went

to bed for approximately half an hour, but then Ansell woke her asking why she was

late and accusing her of infidelity. The victim said she was going back to bed, but

Ansell slammed the bedroom door. The victim eventually asked Ansell to leave and

said she would pack his things as she no longer wanted him living in her home. Ansell

pushed the victim and she fell to the floor. When the victim got up, she tried to push

Ansell out the door because she thought he was coming back towards her, and Ansell

shoved the victim with both his hands into the countertop. The victim reported Ansell

was screaming in her face and then finally left the residence.

      8.     The victim had visible bruising on the left lower side of her back which

she reported was from where she hit the countertop.

      9.     At the time of the assault, the victim and Ansell had been dating on-

and-off for approximately five months and Ansell was living with the victim.

      10.    Ansell has at least two separate prior convictions for assaulting intimate



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partners.

      11.    First, on or about March 3, 2010, Ansell was convicted of misdemeanor

domestic violence in violation of Michigan Compiled Laws Section 750.813, in Delta

County Case No. 09FH008228.         On October 19, 2009, officers were called to a

Gladstone, MI residence for a report of an assault. The victim reported that she was

visiting the residence and talking to the homeowner about Ansell when he showed up

and started pounding on the door. The homeowner reported she went outside to talk

to Ansell, but he went past her and kicked in the door. The victim reported Ansell

threw a bottle of [sic] “Frebrez” at the victim, pushed her to the floor, and then after

she got up, grabbed her by the neck and bent her backwards over the stove, choking

her. She had scratches on her chest and red marks on her chest, neck, shoulders, and

cheek. The victim reported she had been dating Ansell for 3.5 months and had just

broken up with him the day before.

      12.    Second, on February 2, 2022, Ansell was convicted of felony

strangulation and suffocation in violation of Wisconsin Statute 940.235(1), in Door

County Case Number 2020CF000069.           Court records indicate the charge had a

modifier for domestic abuse under Wisconsin Statute 968.075(1)(a). On March 25,

2020, an officer responded to a motel in Egg Harbor, WI for a reported domestic

incident. Ansell was the caller and said his girlfriend had assaulted him. When the

officer arrived, he found a woman in the motel lobby with bright red blotches on her

chest, neck, back, and left arm; scratches on her chest and left wrist; and two red dots

on the right side of her neck. The woman reported that she and Ansell had been



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talking about their relationship issues and got into an argument. When she asked

Ansell to return her rent money, he got on top of her on the bed, straddled her, and

put his hands around her neck, pressing her neck into the bed. The victim reported

that she was unable to speak and had difficulty breathing while Ansell had his hands

around her neck. The victim said that after Ansell got off her, he pushed her into a

storage container and she fell backwards, striking her head on the bed’s headboard.

The victim said she had Ansell had been dating for three months and were living

together. Ansell said they had been dating two months and claimed the victim was

the aggressor.

                                 CONCLUSION

      13.   I submit that this continuation establishes probable cause to believe

that Ansell violated Title 18, United States Code, Section 117. I therefore request

that the Court authorize the criminal complaint and issue a warrant for Ansell’s

arrest.




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